         Case 1:22-cv-10904-JSR Document 313 Filed 08/31/23 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK



 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

         Plaintiff,
 v.                                                 Case Number: 1:22-cv-10904-JSR

 JPMORGAN CHASE BANK, N.A.

         Defendant/Third-Party Plaintiff,

 v.

 JAMES EDWARD STALEY

         Third-Party Defendant.


                JAMES EDWARD STALEY’S MOTION FOR LEAVE TO
               WITHDRAW JONATHAN DUNN AS COUNSEL OF RECORD

       Pursuant to Rule 1.4 of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York, Third-Party Defendant, James Staley, by and

through undersigned counsel, respectfully submits this Motion for Leave to Withdraw Jonathan

Dunn as Counsel of Record. In support, Third-Party Defendant states as follows:

       1.       On May 24, 2023, the Court entered an Order [Docket No. 164] granting

admission pro hac vice to Jonathan Dunn as counsel for Third-Party Defendant in the above-

captioned litigation.

       2.       Third-Party Defendant now moves for leave to withdraw Mr. Dunn’s appearance

in this action because of Mr. Dunn’s forthcoming departure from Williams & Connolly LLP on

September 1, 2023.




                                                1
         Case 1:22-cv-10904-JSR Document 313 Filed 08/31/23 Page 2 of 2




       3.      Withdrawal is sought with notice to and consent from Third-Party Defendant.

Third-Party Defendant remains represented in this action by legal counsel from Williams &

Connolly, including but not limited to undersigned counsel.

       4.      Granting this motion will not cause any undue delay in these proceedings or

prejudice any party.

       For good cause shown, Third-Party Defendant James Staley respectfully requests that the

Court grant this motion and enter an order permitting the withdrawal of Jonathan Dunn as

counsel of record and removing him from the list of attorneys receiving electronic notices of

filings and proceedings in this action.



Dated: August 31, 2023                                        Respectfully submitted,

                                                              By: /s/ Jonathan Dunn____

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                                                2
